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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


Civil Action No. 12-cv-00759-BNB

RUSTY LEE SARVIS,

       Plaintiff,

v.

NAN SCRANTON, El Paso County District Attorney,
TAMRA BOWMAN, Public Defender Office,
CLAYTON C. BLACKWELL, ICAC Officer, and
PEGGY HEIL, SOTMP,

       Defendants.


            ORDER DIRECTING PLAINTIFF TO FILE AMENDED PLEADING


       Plaintiff, Rusty Lee Sarvis, is a prisoner in the custody of the Colorado

Department of Corrections (DOC) at the Fremont Correctional Facility in Cañon City,

Colorado. Mr. Sarvis initiated this action by filing pro se a pleading titled “Petition for

Violation of Constitutional Rights Under the 14th, 6th, and 5th Amendments” [ECF No.

1]. On March 27, 2012, the Court entered an order directing Mr. Sarvis to cure certain

deficiencies if he wished to pursue his claims in this action. More specifically, the Court

directed Mr. Sarvis to file a pleading on the proper form. On May 29, 2012, Mr. Sarvis

filed a Prisoner Complaint. On June 19, 2012, he was granted leave to proceed in

forma pauperis without payment of an initial partial filing fee.

       The Court must construe the Prisoner Complaint liberally because Mr. Sarvis is

not represented by an attorney. See Haines v. Kerner, 404 U.S. 519, 520-21 (1972);

Hall v. Bellmon, 935 F.2d 1106, 1110 (10th Cir. 1991). However, the Court should not
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be an advocate for a pro se litigant. See Hall, 935 F.2d at 1110. For the reasons stated

below, Mr. Sarvis will be ordered to file an amended pleading on the proper habeas

corpus application form if he wishes to pursue his claims challenging the validity of his

conviction and sentence in this action.

       The court has reviewed the Prisoner Complaint and finds that the claims Mr.

Sarvis is asserting properly are asserted in a habeas corpus action pursuant to 28

U.S.C. § 2254 rather than in a civil rights action pursuant to 42 U.S.C. § 1983. “The

essence of habeas corpus is an attack by a person in custody upon the legality of that

custody, and . . . the traditional function of the writ is to secure release from illegal

custody.” See Preiser v. Rodriguez, 411 U.S. 475, 484 (1973). Section 1983 “provides

a federal cause of action against any person who, acting under color of state law,

deprives another of his federal rights.” Conn v. Gabbert, 526 U.S. 286, 290 (1999); see

also Wyatt v. Cole, 504 U.S. 158, 161 (1992) (“[T]he purpose of § 1983 is to deter state

actors from using the badge of their authority to deprive individuals of their federally

guaranteed rights and to provide relief to victims if such deterrence fails.”).

       In the original petition filed in this action, Mr. Sarvis asserted one claim that he

was denied the effective assistance of counsel in connection with a state court guilty

plea and he asserted one or more claims apparently challenging the constitutionality of

the Colorado sex offender treatment program. In the Prisoner Complaint filed on May

29, 2012, Mr. Sarvis contends that he received ineffective assistance of counsel

because his public defender did not fully disclose the consequences of accepting a plea

bargain in his state court criminal case. He also assets that his sentence is illegal

because he is required to participate in the DOC’s Sex Offender Treatment Program

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(SOTP). As relief, he requests that he be released from the custody of the DOC in

addition to damages.

       Based on the relief Mr. Sarvis seeks in the Prisoner Complaint, it appears that

Mr. Sarvis is challenging the validity of a state court conviction and sentence. As a

result, his claims properly are asserted pursuant to 28 U.S.C. § 2254 and he must file

an amended pleading on the proper habeas corpus application form. Mr. Sarvis is

advised that, for each habeas corpus claim he asserts in the amended pleading, he

must identify the specific federal constitutional right that allegedly has been violated and

he must provide specific factual allegations in support of each asserted claim. Pursuant

to Rules 2(c)(1) and 2(c)(2) of the Rules Governing Section 2254 Cases in the United

States District Courts, Mr. Sarvis must “specify all [available] grounds for relief” and he

must “state the facts supporting each ground.” Furthermore, these habeas corpus rules

are more demanding than the rules applicable to ordinary civil actions, which require

only notice pleading. See Mayle v. Felix, 545 U.S. 644, 655 (2005). Naked allegations

of constitutional violations are not cognizable in a habeas corpus action. See Ruark v.

Gunter, 958 F.2d 318, 319 (10th Cir. 1992) (per curiam). Finally, because the only

proper respondent in a habeas corpus action is the applicant’s custodian, see 28 U.S.C.

§ 2242; Rules 2(a) and 1(b), Rules Governing Section 2254 Cases in the United States

District Courts; Harris v. Champion, 51 F.3d 901, 906 (10th Cir. 1995), Mr. Sarvis is

advised that he must name his custodian as the Respondent in the amended pleading

he files. Accordingly, it is

       ORDERED that Mr. Sarvis file within thirty (30) days from the date of this order

an amended pleading on the proper habeas corpus application form that complies with

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this order. It is

       FURTHER ORDERED that Mr. Sarvis shall obtain the court-approved Application

for a Writ of Habeas Corpus Pursuant to 28 U.S.C. § 2254 form (with the assistance of

his case manager or the facility’s legal assistant), along with the applicable instructions,

at www.cod.uscourts.gov. It is

       FURTHER ORDERED that, if Mr. Sarvis fails within the time allowed to file an

amended pleading on the proper habeas corpus application form as directed, the action

will be dismissed without further notice.


DATED at Denver, Colorado, this 3rd day of July, 2012.

                                                  BY THE COURT:




                                                  s/Craig B. Shaffer
                                                  Craig B. Shaffer
                                                  United States Magistrate Judge




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